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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

ALI JONES p/k/a “ALI;” TORHI HARPER p/k/a            :      CASE NO.:
“MURPHY LEE;” ROBERT KYJUAN                          :
CLEVELAND p/k/a “KYJUAN;” and LAVELL                 :
WEBB                                                 :      COMPLAINT
                                                     :
               Plaintiff                             :
                                                     :      DEMAND FOR JURY TRIAL
       vs.                                           :
                                                     :
UNIVERSAL MUSIC GROUP; UNIVERSAL                     :
MUSIC PUBLISHING GROUP;                              :
UNIVERSAL MUSIC CORP.; BMG SONGS,                    :
INC.; KOBALT MUSIC PUBLISHING                        :
AMERICA INC. d/b/a                                   :
KOBALT MUSIC GROUP;                                  :
HIPGNOSIS SONGS GROUP, LLC;                          :
And CORNELL IRA HAYNES, JR.                          :
p/k/a “NELLY                                         :
                                                     :
               Defendants                            :
                                                     :

       ALI JONES p/k/a “ALI” (“Plaintiff Jones); TORHI HARPER p/k/a

“MURPHY LEE” (“Plaintiff Harper”); ROBERT KYJUAN p/k/a “KYJUAN”

(“Plaintiff Kyjuan”) and LAVELL WEBB (“Plaintiff Webb”) collectively professionally

known as the “ST. LUNATICS” (collectively the “Plaintiffs”), by and through their

undersigned attorneys, for their Complaint against UNIVERSAL MUSIC GROUP, its

agents, wholly or partially owned subsidiaries, parent companies, affiliates and/or holding

companies (“Defendant UMG”) UNIVERSAL MUSIC PUBLISHING GROUP, its

agents, wholly or partially owned subsidiaries, parent companies, affiliates and/or holding

companies (“Defendant UMPG”), BMG SONGS, INC., its agents, wholly or partially

owned subsidiaries, parent companies, affiliates and/or holding companies (“Defendant

BMG”), KOBALT MUSIC PUBLISHING AMERICA, INC. d/b/a KOBALT MUSIC
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GROUP, its agents, wholly or partially owned subsidiaries, parent companies, affiliates

and/or holding companies (“Defendant KOBALT”); HIPGNOSIS SONGS GROUP, LLC

(“Defendant Hipgnosis”)’ and CORNELL IRA HAYNES, JR. “NELLY” (Defendant

Haynes”) (collectively referred to herein as the “Defendants”) allege, upon knowledge to

themselves and upon information and belief as to all other matters, as follows:

                          I.        NATURE OF THE ACTION

       1.      This is a civil action for direct, contributory and/or vicarious copyright

infringement, unjust enrichment, quantum meruit and/or related state law claims on behalf

of Plaintiffs, the authors, creators, composers, writers and copyright owners of the lyrics to

eight original musical compositions entitled: (i) “Steal the Show;” (ii) “Thick Thick Girl;”

(iii) “Country Grammar;” (iv) “Wrap Something/Sumden;” (v) “Batter Up;” (vi) “Iz U;”

(vii) “Go;” and (viii) “Gimmie What You Go” (collectively referred to herein as the

“Original Compositions”)

       2.      The Original Compositions were unlawfully utilized and/or exploited by

Defendants to create a musical record album entitled “Country Grammar” (the “Infringing

Album”).

       3.      Defendants, jointly and/or severally, willfully and intentionally: (i)

registered the Infringing Album with United States Copyright Office falsely identifying

themselves as the authors, writer, creators, and/or copyright owners of the Original

Compositions contained therein; (ii) manufactured, distributed, used, commercialized, sold

and/or otherwise exploited the Original Composition, via their exploitation of the

Infringing Album, without Plaintiffs’ written authorization or consent; (iii) induced and/or

caused various third parties including, but not limited to, various television and radio


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stations to broadcast, publicly perform and/or otherwise exploit the Original Composition

in the State of New York, the State of Georgia, State of Missouri and throughout the United

States and overseas, without Plaintiffs’ written authorization and consent; (iv) unlawfully

profited from the unauthorized manufacturing, distribution, use, commercialization, sale,

broadcasting, public performance and other exploitation of the Original Compositions via

the exploitation of the Infringing Album; and (v) deprived Plaintiffs of substantial income,

proceeds, monies, concert revenues, fees, royalties and/or other remuneration, directly

and/or indirectly, related to the distribution, use, commercialization, sale, broadcasting,

public performance, licensing and/or other exploitation of the Original Compositions.

       4.       By this action, Plaintiffs seek a declaration by this Court that they are the

authors, creators, composers, writers and/or lawful copyright owners of the Original

Compositions contained in the Infringing Album and that the Defendants: (i) knowingly,

willfully and intentionally infringed Plaintiffs’ copyrights and exclusive rights in and

relating to the Original Compositions in violation of the United States Copyright Act, 17

U.S.C. §§106, 115 and 501; (ii) induced, caused and/or materially contributed to the

infringement of Plaintiffs’ copyrights and/or exclusive rights in and relating to the Original

Compositions by others in violation of the United States Copyright Act, 17 U.S.C. §§106,

115 and 501; (iii) were unjustly enriched by the services performed by Plaintiffs in

authoring, creating, composing, and/or writing the Original Compositions; (iv) deprived

Plaintiffs of substantial income, proceeds, monies, fees, royalties and other remuneration,

directly and/or indirectly related to Defendants’ distribution, use, commercialization, sale,

broadcasting, public performance, licensing and other exploitation of the Original

Compositions.


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       5.      That Defendants have committed successive acts of copyright infringement

that are continuing in nature.

       6.      If it is determined that Plaintiffs are not the sole creator, authors and

copyright owners of the Original Composition, then Plaintiffs state, in the alternative, that

they are co-authors and/or co-owners of the Original Compositions, contained in the

Infringing Album, with Defendant Haynes.

       7.      Plaintiffs state that they and Defendant Haynes collaborated by creating and

writing the Original Compositions for the common purpose of commercially exploiting the

Original Compositions.

       8.      Plaintiffs further state, in the alternative, that they and Defendant Haynes

intended that their combined, but independent, contributions be utilized to create the

Original Compositions and, as a result, are joint authors and/or joint owners of the Original

Compositions contained in the Infringing Album.

       9.      As joint authors of the Original Compositions, Plaintiffs hereby demand an

accounting of all income, profits and/or royalties generated by the distribution, sale, use,

commercialization, public performance, concert revenue and/or any other exploitation of

the Original Compositions by Defendant Haynes and/or by any of the Defendants

Defendant Haynes licensed or granted rights to exploit the Original Compositions.

       10.     Plaintiffs are entitled to all legal, equitable and financial relief, as requested

herein, to remedy Defendants’ unlawful and infringing conduct.

                             II.       JURISDICTION AND VENUE

       11.    This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338 (a) and (b). This Court also has original jurisdiction over this


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action pursuant to 28 U.S.C. §1332 (a), because there is complete diversity between

Plaintiffs and Defendants and the total amount in controversy exceeds $75,000.00. This

Court has supplemental jurisdiction over the remaining state law claims pursuant to 28

U.S.C. §1367.

        12.     Defendants’ unlawful acts alleged herein are continuing in nature and that

each act constitutes a separate and successive act of copyright infringement by Defendants

with each new act of infringement giving rise to a discrete claim of infringement that

accrues at the time the infringement occurred.

        13.     This Court has personal jurisdiction over all Defendants because

Defendants: (i) solicit, transact and conduct business in the State of New York and in this

District and are regularly doing or soliciting business or engaging in a persistent course of

conduct in this State and in this District; (ii) receive substantial revenue from the State of

New York and the infringing conduct occurred in the State of New York and within this

District; (iii) expect or reasonably should expect their conduct to have consequences in the

State of New York; (iv) directly or indirectly infringed Plaintiffs’ copyrights in and to the

Original Compositions, via the exploitation of the Infringing Album, in the State of New

York and in this District; and (v) have caused harm to Plaintiffs in the State of New York.

        14.     Venue is properly laid in this District pursuant to 28 U.S.C. § 1391 (b) and

(c), §1400 (a) in that Defendants transact business in this judicial district, and/or a

substantial part of the events giving rise to Plaintiffs’ causes of action occurred in this

District.




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                                            III.     PARTIES

       15.    Plaintiff Jones is a musical recording artist and the composer, arranger, writer

and copyright owner of the Original Compositions. A copy of Plaintiffs’ copyright

registrations for the Original Compositions is attached hereto as Exhibit A. Plaintiff Jones

resides in Atlanta, Georgia. Plaintiff Jones is, and at all times relevant herein was, a

member of the musical recording group known as the “St. Lunatics.”

       16.     Plaintiff Harper is a musical recording artist and the composer, arranger,

writer and copyright owner of the Original Compositions. A copy of Plaintiffs’ copyright

registrations for the Original Compositions is attached hereto as Exhibit A. Plaintiff

Harper resides in Atlanta, Georgia. Plaintiff Harper is, and at all times relevant herein was,

a member of the musical recording group known as the “St. Lunatics.”

       17.     Plaintiff Cleveland is a musical recording artist and the composer, arranger,

writer and copyright owner of the Original Compositions. A copy of Plaintiffs’ copyright

registration for the Original Compositions is attached hereto as Exhibit A. Plaintiff

Cleveland resides in St. Louis, Missouri. Plaintiff Cleveland is, and at all times relevant

herein was, a member of the musical recording group known as the “St. Lunatics.”

       18.     Plaintiff Webb is a musical recording artist and the composer, arranger,

writer and copyright owner of the Original Compositions. A copy of Plaintiffs’ copyright

registration for the Original Compositions is attached hereto as Exhibit A. Plaintiff Webb

resides in St. Charles, Missouri. Plaintiff Webb is, and at all times relevant herein was, a

member of the musical recording group known as the “St. Lunatics.”

       19.     Upon information and belief, Defendant UMG is a corporation duly

organized and existing under the laws of a State located within the United States with its


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principal place of business at 1755 Broadway, New York, New York 10019. Upon

information and belief, Defendant UMG is one of the largest music companies in the World

and is licensed and authorized to do business in the State of New York and actively

transacts business in the State of New York and in this District.

       20.     Upon information and belief, Defendant UMG is engaged in the business of

manufacturing, distributing, marketing, selling and otherwise exploiting musical

compositions in the form of compact discs (“cds”), tapes, and phonographic records. Upon

information and belief, Defendant UMG directly or indirectly created, manufactured,

distributed, used, commercialized, sold and/or otherwise exploited the Original

Compositions contained in the Infringing Album in the State of New York, within this

District, throughout the United States and overseas, all without Plaintiffs’ written

authorization and consent.

       21.     Upon information and belief, Defendant UMPG is a subsidiary of Universal

Music Group Holdings, Inc., is a corporation duly organized and existing under the laws

of a State located within the United States with its principal place of business at 2100

Colorado Avenue, Santa Monica, California 90404.                  Upon information and belief,

Defendant UMPG is one of the largest song publishing companies in the World and is

licensed and authorized to do business in the State of New York and actively transacts

business in the State of New York and in this District.

       22.     Upon information and belief, Defendant UMPG is engaged in the business

of acquiring, exploiting and licensing musical compositions and collecting royalties from

the exploitation of musical compositions for copyright owners. Upon information and

belief, Defendant UMPG directly or indirectly published, distributed, publicly performed,


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used, licensed, commercialized, sold, collected royalties and otherwise exploited the

Original Compositions, contained in the Infringing Album, in the State of New York,

within this District, throughout the United States and overseas, all without Plaintiffs’

written authorization and consent.

       23.     Defendant BMG is a corporation duly organized and existing under the laws

of the State located within the United States with its principal place of business at 1540

Broadway, New York, New York 10036. Upon information and belief, Defendant BMG

is one of the largest song publishing companies in the World and is licensed and authorized

to do business in the State of New York and actively transacts business in the State of New

York and in this District.

       24.     Upon information and belief, Defendant BMG is engaged in the business of

acquiring, exploiting and licensing musical compositions and collecting royalties from the

exploitation of musical compositions for copyright owners. Upon information and belief,

Defendant BMG directly or indirectly published, distributed, publicly performed, used,

licensed, commercialized, sold, collected royalties and otherwise exploited the Original

Compositions, contained in the Infringing Album, in the State of New York, within this

District, throughout the United States and overseas, all without Plaintiffs’ written

authorization and consent.

       25.     Upon information and belief, Defendant KOBALT is a corporation duly

organized and existing under the laws of a State located within the United States with its

principal place of business at 2 Gansevoort Street, 6th Floor, New York, New York 10014.

Upon information and belief, Defendant KOBALT is a song publishing and/or publishing




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administration company and is licensed and authorized to do business in the State of New

York and actively transacts business in the State of New York and in this District.

        26.    Upon information and belief, Defendant KOBALT is engaged in the

business of acquiring, exploiting and licensing musical compositions and collecting

royalties from the exploitation of musical compositions for copyright owners. Upon

information and belief, Defendant KOBALT directly or indirectly published, distributed,

publicly performed, used, licensed, commercialized, sold, collected royalties and otherwise

exploited the Original Compositions, contained in the Infringing Album, in the State of

New York, within this District, throughout the United States and overseas, all without

Plaintiffs’ written authorization and consent.

        27.    Upon information and belief, Defendant HIPGNOSIS is a corporation duly

organized and existing under the laws of a State located within the United States with its

principal place of business at CT Corporation, 28 Liberty Street, New York, New York

10005. Upon information and belief, Defendant HIPGNOSIS is a song publishing and/or

publishing administration company and is licensed and authorized to do business in the

State of New York and actively transacts business in the State of New York and in this

District.

        28.    Upon information and belief, Defendant HIPGNOSIS is engaged in the

business of acquiring, exploiting and licensing musical compositions and collecting

royalties from the exploitation of musical compositions for copyright owners. Upon

information and belief, Defendant HIPGNOSIS directly or indirectly published,

distributed, publicly performed, used, licensed, commercialized, sold, collected royalties

and otherwise exploited the Original Compositions, contained in the Infringing Album, in


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the State of New York, within this District, throughout the United States and overseas, all

without Plaintiffs’ written authorization and consent.

       29.     Defendant Haynes is a musical recording artist in the music industry,

specifically in the “rap” or “hip-hop” genre. Upon information and belief, Defendant

Haynes is a resident of the State of California, but actively transacts business in the State

of New York and in this District. Defendant Haynes was a member of the musical recording

group known as the “St. Lunatics.” Upon information and belief, Defendant Haynes has

falsely and fraudulently claimed that he is the author, arranger, composer, writer and/or

creator of the Original Compositions contained in the Infringing Album and unlawfully

exploited the Original Compositions without Plaintiffs’ written authorization and consent.

       30.     In the alternative, to the extent that Defendant Haynes’ alleged independent

contribution to the creation of the lyrics contained in the Original Compositions was

copyrightable, then Plaintiffs and Defendants are co-authors or joint authors of the Original

Compositions because Plaintiffs and Defendant Haynes jointly contributed to the creation

of the Original Compositions with the intention that they be considered joint authors or

joint owners thereof.

       31.     On or about June 2021, Defendant Haynes, by and through his legal

representatives, expressly repudiated Plaintiffs’ claims of joint authorship.

       32.     Defendant Haynes has commercially exploited the Original Compositions

but has failed to provide an accounting of the gross income, monies, royalties, and/or other

remuneration generated from his exploitation of the Original Compositions to his co-

authors and/or joint authors, Plaintiffs.




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       33.     As joint authors, Plaintiffs are entitled to an accounting of all gross income,

monies, royalties, and/or other remuneration generated from Defendant Haynes’

exploitation of the Original Compositions.

             IV.    FACTS COMMON TO ALL CLAIMS FOR RELIEF

       A.      Plaintiffs and Defendant Haynes form the group St. Lunatics

       34.     Plaintiffs and Defendant Haynes were childhood friends growing up in St.

Louis, Missouri. Sometime in 1993, the Plaintiffs and Defendant Haynes formed rap group

called the “St. Lunatics.” While Defendant Haynes demonstrated considerable skills as

performer and vocalist, he lacked the song writing creativity possessed by the other

members of the St. Lunatics. Defendant Haynes and Plaintiffs worked diligently in trying

to get a foot hold in the music industry.

       35.     Between 1993 and 1997, Defendant Haynes and Plaintiffs began

performing and recording “demo” song recordings as the “St. Lunatics.” During these years

Plaintiffs provided the majority of the song writing and lyrical compositions duties for the

St Lunatics. Defendant Haynes showed considerable talent in his lyrical delivery of the

songs written and arranged by Plaintiffs. The St. Lunatics, through their song writing, demo

tapes and public performances, worked hard to gain the attention of various record

companies in the music industry in search of a recording deal.

       36.     Sometime in 1997 the St. Lunatics released their first single entitled

“Gimme What You Got.”           “Gimme What You Got” was written by Plaintiffs and

performed by Plaintiffs and Defendant Haynes as the St. Lunatics. “Gimme What You

Got” was a commercial success. The notoriety of “Gimme What You Got” continued

throughout the rest of the 90’s giving the Plaintiffs and Defendant Haynes a foot hold in


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the hip-hop industry. Through continued radio play of “Gimme What You Got” and live

performances of the song by Plaintiffs and Defendant Haynes, record companies began

courting the St. Lunatics and expressed interest in signing them to a record deal.

       B.       Plaintiffs create the Original Compositions

       37.      Upon information and belief, as the St. Lunatics notoriety and fame

continued to grow throughout the rest of the 1990s, in the year 2000, Defendant UMG, via

its wholly owned subsidiary Universal Records, signed Defendant Haynes to a record deal.

Also in 2000, Defendant UMG agreed to sign the St. Lunatics to a recording deal.

       38.      Since Defendant Haynes’ solo album would be released before the St.

Lunatics first album, Plaintiffs began writing the lyrics to what would become the Original

Compositions.

       39.      Sometime in 2000, Plaintiffs and Defendant Haynes began recording the

Original Compositions at Unique Recording Studios in New York City. It was during these

recording sessions that Plaintiffs finalized the lyrics to the Original Compositions and

worked with Defendant Haynes to record the Infringing Album. Plaintiffs provided all of

the lyrics to the Original Compositions, with Defendant Haynes providing some lyrical

arrangement and writing, and also vocal performances of the Original Compositions.

       40.      At no time during the recording of the Infringing Album did Defendant

Haynes ever dispute that Plaintiffs wrote and arranged the lyrics contained in the Original

Compositions. In fact, Defendant Haynes, in video of their recording sessions, freely

admits that Plaintiffs were, and are, the writers of the Original Compositions contained in

the Infringing Album.




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       41.     The extent of Defendant Haynes’ contribution to the creation of the Original

Compositions will be determined at trial; however, Plaintiffs state that to the extent

Defendant Haynes’ independent contribution to the creation of the Original Compositions

were copyrightable, then the Plaintiffs and Defendant Haynes intended their collaborations

to result in them being deemed co-authors of the Original Compositions

       C.      The Infringing Album is a Commercial Success

       42.     Upon information and belief, the Infringing Album (entitled Country

Grammar) was released sometime in 2000 and become a huge commercial success, making

Defendant Haynes a certified rap star.

       43.     Upon information and belief, as of 2016 the Infringing Album has sold more

than 10 million copies.

       44.     Upon information and belief, as of January 1, 2020, the Defendants have

continued to manufacture, distribute, sell, license, publicly perform, and/or otherwise

exploit the Original Compositions by exploiting the Infringing Album.

       D.      Plaintiffs promised publishing credit for the Original Compositions

       45.     During the recording, and subsequent distribution and sale, of the Infringing

Album, Defendant Haynes privately and publicly acknowledged that Plaintiffs were the

lyric writers for the Original Compositions and promised to ensure that Plaintiffs received

writing and publishing credit for the Original Compositions.

       46.     Plaintiffs, relying on the promises made to them by Defendant Haynes,

continued to perform shows with Defendant Haynes both in his solo performances (as back

up performers) and as the group St. Lunatics.




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         E.    St. Lunatics release their first record album in 2001

         47.   Approximately 12 months after the release of the Infringing Album,

Plaintiffs, performing as the St. Lunatics, released their first studio album entitled “Free

City.”

         48.   Upon information and belief, “Free City” was released by Defendant UMG

and/or its wholly owned subsidiary Universal Records. “Free City” was a commercial and

critical success. Eventually, “Free City” reached number 3 on the US pop charts; number

1 on the US R&B Charts; and was certified gold (i.e., over 500,000 copies sold in the US)

and platinum (over 1 million copies sold in the US).

         49.   With the success of “Free City,” Plaintiffs began touring all over the United

States performing hit songs from the album. During this time Defendant Haynes and the

Infringing Album were also enjoying continued commercial success and popularity.

         F.    Plaintiffs repeatedly request proof of their Publishing and writing
               credit for the Original Compositions

         50.   During the success of both the Infringing Album and “Free City,” Plaintiffs

and Defendant Haynes remained extremely busy with concert tours, radio performances,

and otherwise promoting their respective albums. During this period of time Plaintiffs

repeatedly reached out to Defendant Haynes and/or his authorized representatives inquiring

about their publishing and writers’ credit for the Original Compositions contained in the

Infringing Album.

         51.   Defendant Haynes, and/or his authorized representatives, repeatedly

assured Plaintiffs that they would receive all of their publishing and writing credit for the

Original Compositions. Defendant Haynes further explained that because of all the success



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the parties were experiencing with the Infringing Album and the “Free City” album the

record companies had been focusing on sales and promoting the albums.

       G.      Defendant Haynes takes credit for creating the Original Compositions
               contained in the Infringing Album

       52.     Despite repeated assurances by Defendant Haynes that Plaintiffs would

receive their writing credit and publishing income for creating the Original Compositions,

Plaintiffs, sometime in 2020, eventually discovered that Defendant Haynes had been lying

to them the entire time.

       53.     Plaintiffs eventually discovered that not only did they not receive any credit

as authors and/or creators of the Original Compositions, but that Defendant Haynes, and

others, took full credit for creating the Original Compositions contained in the Infringing

Album.

       54.     Upon information and belief, despite repeatedly promising Plaintiffs that

they would receive full recognition and credit for creating and authoring the lyrics

contained in the Original Composition, it eventually became clear that Defendant Haynes

had no intention of providing the Plaintiffs with any such credit or recognition.

       55.     Not only did Defendant Haynes fraudulently represent to others that he was

a writer and/or creator of the Original Compositions, he also, upon information and belief,

allowed other individuals within his circle to receive credit and publishing income for

songs written by Plaintiffs.

       H.      Plaintiffs were manipulated by Defendant Haynes

       56.     Plaintiffs, for many years, detrimentally relied on the material

representations made by Defendant Haynes that they would receive the proper recognition

for creating the Original Composition and also receive the publishing income generated by

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the sales, distribution, licensing and/or other exploitation of the Original Compositions via

the Infringing Album.

       57.     Every time Plaintiffs confronted Defendant Haynes about their publishing

credit and income for creating and authoring the Original Compositions, Defendant Haynes

would assure them as “friends” he would never prevent them from receiving the financial

success they were entitled to as writers of the Original Compositions.

       58.     Unfortunately, Plaintiffs, reasonably believing that their friend and former

band member would never steal credit for writing the Original Compositions, did not

initially pursue any legal remedies and believed Defendant Haynes would make good on

his promise to ensure Plaintiffs received: (i) recognition as writers and authors of the

Original Compositions contained in the Infringing Album; and (ii) the publishing income

from the exploitation of the Infringing Album.

       I.      Plaintiffs have no alternative but to pursue legal remedies

       59.     Sometime in 2020, Plaintiffs became aware of a dispute between an

individual named Willie Woods, Jr. p/k/a John Long (“Mr. Woods”) and Defendant Haynes

and/or Defendant UMPG regarding the song “Ride Wit Me” which was contained in the

Infringing Album. Upon information and belief, Mr. Woods claimed to be one of the

writers on the song “Ride Wit Me” and was demanding his portion of publishing royalties

from the sales, public performance and/or exploitation of “Ride Wit Me.”

       60.     Realizing that they were not the only writers on the Infringing Album that

Defendant Haynes had failed to provide proper credit and publishing income, Plaintiffs

decided to seek legal advice regarding their copyrights in and to the Original Compositions.




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       61.     Sometime in March 2021, Plaintiffs hired an attorney who wrote to

Defendant UMPG informing them that Plaintiffs were writers and authors of the Original

Compositions, that Plaintiffs were entitled to writers’ credit and publishing income from

the exploitation of the Original Compositions via the Infringing Album.

       62.     Upon information and belief, Defendant UMPG sent a copy of the

aforementioned letter to Defendant Haynes’ legal representation. Sometime in 2021,

Defendant Haynes, via his legal representatives, expressly repudiated Plaintiffs’ claims of

authorship or joint authorship of the Original Compositions. In addition, Defendant

Haynes, via his legal representatives, claimed that Plaintiffs could not pursue or protect

their copyrights in and to the Original Compositions because the statute of limitations for

such claims had expired.

       63.     As a result of this communication with Defendant Haynes’ legal

representatives in 2021, it was clear that Defendant Haynes: did not acknowledge Plaintiffs

as the authors and/or co-authors of the Original Compositions; had no intention of

providing Plaintiffs with their writers’ credit on the Infringing Album; and would not pay

Plaintiffs their past due publishing income or account to Plaintiffs the total amount of

income generated by the exploitation of the Original Compositions via the Infringing

Album. Given the aforementioned, Plaintiffs had no alternative but to commence legal

proceedings against Defendants.

       J.      Defendants’ Infringing Conduct

       64.     Upon information and belief, Defendant UMG, by and through its wholly

owned subsidiary Universal Records, manufactured, distributed, commercialized, sold

and/or otherwise exploited (and continues to manufacture, distribute, commercialize, sell


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and/or otherwise exploit) the Original Compositions, via its exploitation of the Infringing

Album, throughout the United States, including the State of New York and overseas

without Plaintiffs’ written authorization and consent.

        65.     Upon information and belief, Defendant UMG, by and through its wholly

owned subsidiary Universal Records, knowingly, willfully and intentionally caused (and

continues to cause) various third parties including, but not limited to, various television

and radio stations to broadcast, to publicly perform and otherwise exploit the Original

Compositions, via its exploitation of the Infringing Album, in the State of New York,

within this District, throughout the United States and overseas, even though Defendant

UMG knew, or should have known, that they did not have Plaintiff’s written authorization

to do so.

        66.     Upon information and belief, Defendant UMG, by and through its wholly

owned subsidiary Universal Records, falsely or incorrectly attributed authorship of the

Original Compositions contained in the Infringing Album to Defendant Haynes and others

but not Plaintiffs.

        67.     Upon information and belief, Defendant Haynes registered the Original

Compositions contained in the Infringing Album with the United States Copyright Office,

and falsely and fraudulently identified himself, and others, instead of Plaintiffs, as the

author of the Original Compositions. Defendant Haynes intentionally and willfully failed

to identify Plaintiffs as the authors and/or writers of the Original Compositions contained

in the Infringing Album.




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       68.     Upon information and belief, Defendant Haynes falsely and fraudulently

assigned to Defendants UMPG, BMG and/or KOBALT his alleged publishing interest in

and to the Original Compositions contained in the Infringing Album.

       69.     Upon information and belief, Defendants UMPG, BMG, KOBALT and/or

HIPGNOSIS have falsely or incorrectly represented to the United States Copyright Office

that they possess a copyright interest in and to the Original Compositions contained in the

Infringing Album and/or are authorized to administer the publishing income generated by

the exploitation of the Original Compositions, via their exploitation of the Infringing

Album.

       70.     Upon information and belief, the “Infringing Album” was a critical and

commercial success, selling over 10,000,000 records worldwide and generating hundreds

of millions of dollars in revenue and profits for the Defendants. It is undisputed that

Defendants have illegally exploited, and continue to illegally exploit the Original

Compositions, via the exploitation of the Infringing Album.

       71.     Upon information and belief, Defendants have unlawfully and illegally

received and/or collected, and continue to receive and collect: (i) (i) significant income

from various public performance societies (eg. ASCAP, BMI, SESAC) for the broadcast

and public performance of the Original Compositions contained in the Infringing Album;

(ii) substantial mechanical royalties from the sale of the Original Compositions via the

Infringing Album; and (iii) substantial income from the exploitation of the Original

Compositions via the exploitation of the Infringing Album.




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       72.     The acts of Defendants identified herein, have been completely deprived,

and continue to deprive, Plaintiffs of any and all income directly or indirectly related to the

Original Compositions.

       73.     Defendants knew, or should have known, that they needed Plaintiffs’

written authorization and written consent in order to manufacture, distribute, use,

commercialize, sell and/or otherwise exploit the Original Compositions via exploitation of

the Infringing Album.        However, Defendants never obtained Plaintiffs’ written

authorization and/or written consent for any such exploitation.

       74.     Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS knew, or

should have known, that they needed Plaintiffs’ written authorization and/or written

consent in order to receive and/or collect any monies, royalties, license fees and/or other

income directly or indirectly related to the exploitation of the Original Compositions via

the exploitation of the Infringing Album. However, Defendants UMG, UMPG, BMG,

KOBALT and/or HIPGNOSIS never obtained Plaintiffs’ written authorization and/or

written consent.

       75.     Upon information and belief, Defendants have received, and have continued

to receive, substantial income from the distribution, use, commercialization, sale and/or

other exploitation of the Original Compositions via their exploitation of the Infringing

Album, and have failed to make any payments to Plaintiffs.

       76.     As the creator, composer, writer and author of the Original Compositions,

Plaintiffs were, and are, entitled to receive: (i) a fee for authoring, creating, arranging and

composing the Original Compositions embodied in the Infringing Album; (ii) performance

royalties for the broadcast, public performance and other exploitation of the Original


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Compositions via the exploitation of the Infringing Album from various royalty collection

societies (e.g. ASCAP, BMI, SESAC); (iii) mechanical royalties from the sale of the

Original Compositions via the sale of the Infringing Album; and (iv) other statutory

royalties as provided by the Copyright Act.

       77.      As a result of Defendants’ conduct, Plaintiffs have been completely

deprived, and continue to be deprived, of any income, monies, royalties or other form of

remuneration from the distribution, use, commercialization, sale, public performance or

other exploitation of the Original Compositions via exploitation of the Infringing Album.

       78.      If it is determined that Defendant Haynes’ contribution to the creation of

the Original Compositions is copyrightable; then Plaintiffs state that they are co-authors

and/or co-owners of the copyrights and other exclusive rights in and to the Original

Compositions with Defendant Haynes, and/or any of the other named Defendants, or any

such Defendant(s)’ subsidiaries, affiliates, agents, employees or representatives, who

Defendant Haynes has licensed or granted any copyrights in and to the Original

Compositions.

       79.      Defendant Haynes, via his legal representatives, has expressly repudiated

Plaintiffs’ claim of co-authorship and/or co-ownership in and to the Original Compositions.

Therefore, Plaintiffs demand a declaration that they are joint authors of the Original

Composition and, as a result, demand an accounting of all income, proceeds, profits,

royalties, fees, licenses and other exploitation of the Original Compositions via the

exploitation of the Infringing Album by Defendant Haynes or any such co-author and/or

co-owner Defendants.




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                                   CAUSES OF ACTION

                             COUNT I
                 DIRECT COPYRIGHT INFRINGEMENT
         (DEFENDANTS UMG, UMGP, BMG, KOBALT and HIPGNOSIS)

       80.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 79 as if fully set forth herein.

       81.     Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS have

directly or indirectly infringed, and continue to infringe, Plaintiffs’ copyrights and

exclusive rights, in and relating to the Original Compositions, under copyright law by

manufacturing, distributing, using, commercializing, selling, broadcasting, publicly

performing and otherwise exploiting the Original Compositions via their exploitation of

the Infringing Album without Plaintiffs’ written authorization or written consent, all in

violation of the Copyright Act, 17 U.S.C. §§ 106, 115 and 501. Defendants UMG, UMPG,

BMG and/or KOBALT direct infringement of Plaintiffs’ copyrights in and to the Original

Compositions are continuing in nature.

       82.     Upon information and belief, the foregoing acts of infringement committed

by Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS have been willful,

intentional, purposeful and have been continuing in nature.

       83.     As a direct and proximate result of the acts of infringement committed by

Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS Plaintiffs have suffered,

and will continue to suffer, severe economic and non-economic injuries and damages;

therefore, Plaintiffs are entitled to recover their actual damages and/or the gross revenue,

income and/or profits derived by Defendants UMG, UMPG, BMG, KOBALT and/or




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HIPGNOSIS that are attributable to their infringement of Plaintiffs’ copyrights and

exclusive rights in and to the Original Compositions pursuant to 17 U.S.C. §504(b).

       84.     The exact amount of Plaintiffs’ actual damages and the gross revenue,

income and/or profits of Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS

directly related to their infringement of Plaintiffs’ copyrights and exclusive rights in and to

the Original Compositions are continuing in nature and will be established at trial, but are

in no event less than $50,000,000.00 (FIFTY MILLION DOLLARS).

       85.     Alternatively, Plaintiffs may elect to be awarded and are entitled to the

maximum amount of statutory damages, to the extent permitted by law, pursuant to 17

U.S.C. §504(c), with respect to each work infringed and each act of infringement. Such

statutory damages will be established at trial but are in no event less than $50,000,000.00

(FIFTY MILLION DOLLARS).

       86.     Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

to 17 U.S.C. §505.

                                  COUNT II
                       DIRECT COPYRIGHT INFRINGEMENT
                             (DEFENDANT HAYNES)

       87.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 86 as if fully set forth herein.

       88.     As of January 1, 2020, Defendants Haynes directly infringed, and continues

to infringe, Plaintiffs’ copyrights and exclusive rights, in and relating to the Original

Compositions embodied in the Infringing Album by falsely and fraudulently claiming

authorship of the Original Compositions by licensing, selling and/or assigning Plaintiffs’

copyrights in and relating to the Composition to various individuals and entities including,


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but not limited to, Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS

without Plaintiffs’ written authorization or written consent, all in violation of the Copyright

Act, 17 U.S.C. §§ 106, 115 and/or 501. Defendant Haynes direct infringement of Plaintiffs’

copyrights in and to the Original Compositions are continuing in nature.

       89.     The foregoing acts of infringement committed by Defendants have been

willful, intentional, and purposeful, are continuing in nature.

       90.     As a direct and proximate result of the infringing acts committed by

Defendant Haynes, Plaintiffs have suffered, and continues to suffer, severe economic and

non-economic injuries and damages; therefore, Plaintiffs are entitled to his actual damages

and the gross revenue, income and/or profits derived by Defendant Haynes that are

attributable to their infringement of Plaintiffs’ copyrights and exclusive rights in and to the

Original Compositions pursuant to 17 U.S.C. §504(b).

       91.     The exact amount of Plaintiffs’ actual damages and the gross revenue,

income and/or profits of Defendant Haynes are continuing in nature and will be

established at trial, but are in no event less than $50,000,000 (FIFTY MILLION

DOLLARS).

       92.     Alternatively, Plaintiffs may elect to be awarded, and, therefore, is entitled

to the maximum amount of statutory damages, to the extent permitted by law, pursuant to

17 U.S.C. §504(c), with respect to each work infringed and each act of infringement. Such

statutory damages will be established at trial but are in no event less than $50,000,000

(FIFTY MILLION DOLLARS).

       93.     Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

to 17 U.S.C. §505.




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                            COUNT III
              CONTRIBUTORY COPYRIGHT INFRINGEMENT
         (DEFENDANTS UMG, UMPG, BMG, KOBALT and HIPGNOSIS)

       94.     Plaintiff repeat and re-allege each and every allegation contained in

paragraphs 1 through 93 as if fully set forth herein.

       95.     Upon information and belief, Defendants UMG, UMPG, BMG, KOBALT

and/or HIPGNOSIS intentionally induced, caused, encouraged and/or assisted, and

continues to induce, cause, encourage and/or assist, various third parties, including, but not

limited to, various radio and television stations to reproduce, broadcast, publicly perform

and/or otherwise exploit the Original Compositions contained in the Infringing Album in

the State of New York, within this District, throughout the United States and overseas even

though Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS knew, or should

have known, that it did not have Plaintiffs’ written authorization or written consent to

reproduce, broadcast, publicly perform or otherwise exploit the Original Compositions in

this or any other manner.

       96.     Each time a third party, including, but not limited to, various radio and

television stations, as a result of inducement, encouragement and/or assistance of

Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS reproduced, broadcasted,

publicly performed and/or otherwise exploited the Original Compositions contained in the

Infringing Album, a single, continuing infringement of Plaintiffs’ copyrights and exclusive

rights in and to the Original Compositions occurred and continues to occur.

       97.     Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS by and

through their conduct, engaged in, and continues to engage in, the business of knowingly

inducing, causing, encouraging, assisting and/or materially contributing to the above


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described unauthorized broadcasting, public performance and other exploitation of the

Original Compositions contained in the Infringing Album; thereby infringing Plaintiffs’

copyrights and exclusive rights in and relating to the Original Compositions under

copyright law.

       98.       Upon information and belief, the foregoing acts by Defendants UMG,

UMPG, BMG, KOBALT and/or HIPGNOSIS have been willful, intentional, purposeful

and are continuing in nature.

       99.       The conduct of Defendants UMG, UMPG, BMG, KOBALT and/or

HIPGNOSIS, as alleged herein, constitutes contributory infringement of Plaintiffs’

copyrights and exclusive rights in and relating to the Original Compositions in violation of

the Copyright Act, 17 U.S.C. §§ 106, 115 and 501.

       100.      As a direct and proximate result of the acts of contributory infringement

committed by Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS, Plaintiffs

have suffered, and continues to suffer, severe economic and non-economic injuries and

damages; therefore, Plaintiffs are entitled to their actual damages and the gross revenue,

income and/or profits derived by Defendants UMG, UMPG, BMG, KOBALT and/or

HIPGNOSIS that are attributable to their contributory infringement of Plaintiffs’

copyrights and exclusive rights in and to the Original Compositions pursuant to 17 U.S.C.

§504(b).

       101.      The exact amount of Plaintiffs’ actual damages and the gross revenue,

income and/or profits of Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS

are continuing in nature but will be established at trial, but are in no event less

than $50,000,000.00 (FIFTY MILLION DOLLARS).


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       102.    Alternatively, Plaintiffs may elect to be awarded, and, therefore, is entitled

to the maximum amount of statutory damages, to the extent permitted by law, pursuant to

17 U.S.C. §504(c), with respect to each work infringed and each act of infringement. Such

statutory damages will be established at trial, but are in no event less than $50,000,000.00

(FIFTY MILLION DOLLARS).

       103.    Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

to 17 U.S.C. §505.

                              COUNT IV
                CONTRIBUTORY COPYRIGHT INFRINGEMENT
                        (DEFENDANTS HAYNES)

       104.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 103 as if fully set forth herein.

       105.    Upon information and belief, Defendants Haynes willfully, knowingly and

intentionally induced, caused, encouraged and/or assisted, and continues to induce, cause,

encourage and/or assist, various third parties, including, but not limited to, Defendants

UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS to manufacture, distribute, use,

commercialize, sell, license, broadcast, publicly perform, and otherwise exploit the

Original Compositions contained in the Infringing Album even though Defendant Haynes

knew, or should have known that he did not have Plaintiffs’ written authorization or written

consent to do so.

       106.    Each time Defendants UMG, UMPG, BMG,                             KOBALT and/or

HIPGNOSIS, as a result of Defendant Haynes’ inducement, encouragement and/or

assistance, manufactured, distributed, used, commercialized, sold, broadcasted, licensed,

publicly performed and/or otherwise exploited the Original Compositions contained in the


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Infringing Album a single, continuing act of infringement of Plaintiffs’ copyright and

exclusive rights in and to the Original Composition occurred and such infringement

continues to occurs.

       107.    Through his conduct, Defendant Haynes engaged in, and continues to

engage in, the business of knowingly inducing, causing, encouraging, assisting and/or

materially contributing to the above described unauthorized manufacturing, distribution,

use, commercialization, selling, broadcasting, public performance and other exploitation

of the Original Compositions contained in the Infringing Album; thereby infringing

Plaintiff’s copyrights and exclusive rights in and relating to the Original Compositions

under copyright law. Such infringement continues to occur.

       108.    Upon information and belief, the foregoing acts by Defendant Haynes has

been willful, intentional, purposeful and are continuous in nature.

       109.    The acts alleged herein by Defendant Haynes constitute contributory

infringement of Plaintiffs’ copyrights and exclusive rights in and relating to the Original

Compositions in violation of the Copyright Act, 17 U.S.C. §§ 106, 115 and 501.

       110.    As a direct and proximate result of the acts of contributory infringement

committed by Defendant Haynes, Plaintiffs have suffered, and continues to suffer, severe

economic and non-economic injuries and damages; therefore, Plaintiffs are entitled to

recover their actual damages and the gross revenue, income and/or profits derived by

Defendant Haynes that are attributable to his contributory infringement of Plaintiffs’

copyrights and exclusive rights in and to the Original Compositions pursuant to 17 U.S.C.

§504(b).




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       1119. The exact amount of Plaintiffs actual damages, gross revenues, income

and/or profits of Defendant Haynes are continuing in nature and will be established at

trial, but are in no event less than $50,000,000.00 (FIFTY MILLION DOLLARS).

       112.    Alternatively, Plaintiffs may elect to be awarded, and, therefore, are entitled

to the maximum amount of statutory damages, to the extent permitted by law, pursuant to

17 U.S.C. §504(c), with respect to each work infringed and each act of infringement.

Such statutory damages will be established at trial, but are in no event less than

$50,000,000.00 (FIFTY MILLION DOLLARS).

       113.    Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

to 17 U.S.C. §505.

                                         COUNT V
                                      UNJUST ENRICHMENT

       114.    Plaintiffs repeat and re-allege each and every allegation contained in

paragraphs 1 through 113 as if fully set forth herein.

       115.    Plaintiffs, in good faith and in reliance on the promises and representations

made by Defendant Haynes, produced, arranged, authored, composed and/or created the

Original Compositions.

       116.    Upon information and belief, Defendants Haynes and UMG directly or

indirectly: (i) consented to the services rendered by Plaintiffs in composing, creating,

arranging and/or authoring the Original Compositions; (ii) knew that Plaintiffs expected to

receive a fee and royalties for the exploitation of the Original Compositions; (iii) knew that

Plaintiffs expected to receive “Writer” credit on the Infringing Album for the Original

Compositions; and (iv) knew that Plaintiffs expected to receive mechanical, public



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performance and/or statutory royalties related to the exploitation of the Original

Compositions contained in the Infringing Album.

       117.    Upon information and belief, Defendants Haynes and UMG received a

substantial economic benefit from the services rendered by Plaintiffs in composing,

creating, arranging, and authoring Original Compositions and were unjustly enriched as a

result of the distribution, use, commercialization, sale, broadcasting, licensing, public

performance and/or other exploitation of the Original Compositions contained in the

Infringing Album.

       118.    As the author, composer, arranger and/or creator of the Original

Compositions contained in the Infringing Album, Plaintiffs were (and are) reasonably

entitled to receive: (i) 100% of the publishing rights in and to the Original Compositions

contained in the Infringing Album; (iii) 100% of all public performance income generated

by the exploitation of the Original Compositions; (iv) one-half (½) of the total mechanical

royalties paid, and/or due and payable, for the Original Compositions as a result of the

continued distribution, sale and/or other exploitation of the Infringing Album; (v) “Writer”

credit on the Infringing Album for the Original Compositions; and (vi) any and all other

statutory royalties and customary remuneration paid to an author of a musical composition.

       119.    The total amount of income, monies, royalties and other remuneration

Plaintiffs is reasonably entitled to receive, as a result of services rendered by Plaintiffs in

composing, arranging, authoring and/or creating the Original Compositions, embodied in

the Infringing Album are continuing in nature and will be established at trial, but are in no

event less than $50,000,000.00 (FIFTY MILLION DOLLARS).




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                                   COUNT VI
                       DECLARATION OF JOINT AUTHORSHIP &
                          DEMAND FOR AN ACCOUNTING

       120.      Plaintiffs repeat and re-allege each and every allegation contained in

paragraphs 1 through 119 as if fully set forth herein.

       121.     Alleging in the alternative, Plaintiffs state that to the extent that Defendant

Haynes’ contribution to the creation of the Original Compositions was, or is, copyrightable,

then Plaintiffs state that they are, at the very least, co-authors, joint authors and/or co-

owners of the Original Compositions contained in the Infringing Album with Defendant

Haynes.

       122.    That Plaintiffs contributions to the Original Compositions were

independently copyrightable.

       123.    That Plaintiffs and Defendant Haynes created and authored the Original

Compositions together and intended that their separate contributions to the Original

Compositions be merged together into one work constituting the Infringing Album.

       124.    That Defendant Haynes has publicly stated and declared that Plaintiffs

were, and are, the authors and writers of the lyrics contained in the Original Compositions.

       125.    That on or about June 8, 2021, Defendant Haynes, via his legal

representatives, plainly and expressly repudiated Plaintiffs’ claim of authorship and/or

joint authorship in and to the Original Compositions.

       126.    That Plaintiffs are entitled to a declaration from this Court that they are joint

authors of the Original Compositions with Defendant Haynes.

       127.    That as co-authors, joint-authors and/or co-owners Plaintiffs and Defendant

Haynes own the Original Compositions and the Infringing Album co-equally.


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       128.    That as co-authors, joint-authors and/or co-owners, Plaintiffs are entitled to

receive a detailed account of any and all income or profits Defendant Haynes received as

a result of his exploitation of the Original Compositions contained in the Infringing Album.

       129.    That despite repeated requests from Plaintiffs, Defendant Haynes has

refused to provide any such accounting to Plaintiffs.

       130.    That despite written demands to Defendants UMG, UMPG, BMG,

KOBALT and/or HIPGNOSIS for an accounting of all income and profits generated from

the exploitation of the Original Compositions contained in the Infringing Album,

Defendants UMG, UMPG, BMG, KOBALT and/or HIPGNOSIS, have refused to do so.

       131.    That as result of acts of Defendants hereunder, Plaintiffs have not received

an accounting (or any accompanying payment) of the total monies generated and/or

received by Defendants from the exploitation of the Original Compositions contained in

the Infringing Album.

       132.    Plaintiffs hereby demand the Defendants produce an accounting of all

monies or income generated by the exploitation of the Original Compositions contained in

the Infringing Album and that each Plaintiff receive a co-equal share of such monies or

income with any other co-author or co-owner of the Original Compositions.


                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray to this Court for judgment against the Defendants,

jointly and severally, as follows:

       A.      Awarding Plaintiffs their actual and compensatory damages suffered as a

               result of Defendants’ continuing unlawful, illegal and infringing conduct in



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        an amount to be determined at trial, but which are in no event less than

        $50,000,000.00 (FIFTY MILLION DOLLARS);

  B.    Awarding Plaintiffs any and all gross revenue, income and/or profits

        derived by Defendants that are attributable to their past and continuing

        direct or contributory infringement of Plaintiffs’ copyrights and exclusive

        rights in and to the Original Compositions contained in the Infringing

        Album in an amount to be determined at trial, but which are in no event less

        than $50,000,000.00 (FIFTY MILLION DOLLARS);

  C.    Awarding Plaintiff, at his election and to the extent permitted by law, the

        maximum amount of statutory damages against Defendants for each work

        contained in the Original Compositions infringed and for each act of

        infringement (including all past and continuing infringement) in an amount

        to be determined at trial, but which are in no event less than $50,000,000.00

        (FIFTY MILLION DOLLARS);

  D.    Awarding Plaintiffs, at their election and to the extent permitted by law, the

        maximum amount of statutory damages against Defendants for each work

        contained in the Original Compositions infringed and for each act of

        infringement (including all past and continuing infringement) in an amount

        to be determined at trial, but which are in no event less than $50,000,000.00

        (FIFTY MILLION DOLLARS);

  E.    Awarding Plaintiffs any and all income, fees, monies, royalties, licenses and

        other remuneration Plaintiffs are reasonably entitled to receive, as a result

        of services rendered by Plaintiffs to Defendants in creating, composing,


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        arranging,    authoring,      composing        and/or      creating   the   Original

        Compositions, in an amount to be determined at trial, but which are in no

        event less than $50,000,000.00 (FIFTY MILLION DOLLARS);

  F.    Awarding Plaintiffs their actual and compensatory damages as a direct and

        proximate result of Defendants’ unjust enrichment at Plaintiffs’ expense in

        an amount to be determined at trial, but in no event less than $5,000,000.00

        (FIVE MILLION DOLLARS);

  J.    In the alternative, if any named Defendant, or any such Defendant(s)’

        subsidiaries, affiliates, employees, agents or representatives, is determined

        or proven to be a co-author and/or co-owner of the Original Compositions

        with Plaintiffs; The Court Order: (i) any such co-author and/or co-owner to

        render an accounting to ascertain the total amount of proceeds, income,

        monies, royalties, profits, fees, licenses and other compensation generated

        by the past and continuing exploitation of the Original Compositions

        contained in the Infringing Album and received by any such co-author

        and/or co-owner as a result of said co-author and/or co-owner exploitation

        of the Composition; and (ii) an Award to Plaintiffs in a sum equal to 80%

        of the total amount of any such proceeds, royalties, profits, fees, licenses

        and other compensation actually received by any such Defendant co-

        author/co-owner.

  K.    Awarding Plaintiffs prejudgment interest according to law;

  M.    Awarding Plaintiffs’ reasonable attorneys' fees, costs and expenses relating

        to this action; and


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         N.     Awarding Plaintiff such other and further relief as the Court may deem just

                and proper.


Dated:          September 18, 2024,                Respectfully submitted,

                                                   /s/ Gail Walton

                                                   Law Offices of Gail M. Walton
                                                   1500 Astor Avenue, 2nd Floor
                                                   Bronx, New York 10469
                                                   (718) 655-6000
                                                   Attorney for Plaintiffs

                               DEMAND FOR JURY TRIAL

         Plaintiff demands a jury trial pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure.

Dated:          September 18, 2024,                Respectfully submitted,

                                                   /s/ Gail Walton

                                                   Law Offices of Gail M. Walton
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